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                          IN THE UNITED STATES DISTRICT
                        COURT FOR THE NORTHERN DISTRICT
                             OF TEXAS DALLAS DIVISION

  LEAF TRADING CARDS, LLC                            §
                                                     §
         Plaintiff,                                  §
                                                     §         Civil Action No. 3:17-cv-3200
  v.                                                 §
                                                     §
  THE UPPER DECK COMPANY,                            §         JURY TRIAL DEMANDED
                                                     §
         Defendant.                                  §


                       ORDER GRANTING AGREED MOTION

       Pending before the Court is Leaf Trading Cards, LLC and The Upper Deck Company’s

Agreed Motion for Entry of Trial Date. Having considered the Agreed Motion, it is hereby

GRANTED. Therefore, it is hereby ORDERED:

       This matter is set for trial beginning December 1, 2021.

       The pretrial conference will be set by separate order or notice, for a date no later than

November 12, 2021.

       SIGNED this 12th day of February 2021.



                                                         DAVID C. GODBEY
                                                         UNITED STATES DISTRICT JUDGE




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